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 UNITED STATES DISTRICT COURT
 FOR THE WESTERN DISTRICT OF NEW YORK


  BLACK LOVE RESISTS IN THE RUST, et al.,
  individually and on behalf of a class of all others
  similarly situated,

                         Plaintiffs,
                                                            No. 1:18-cv-00719-CCR
         v.

  CITY OF BUFFALO, N.Y., et al.,

                         Defendants.


                      PLAINTIFFS’ RESPONSE TO DEFENDANTS’
                      NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants have asked this Court to consider Black Lives Matter Los Angeles v. City of

Los Angeles (“BLM L.A.”), 113 F.4th 1249 (9th Cir. 2024) in opposition to Plaintiffs’ Motion

for Class Certification. Contrary to Defendants’ arguments, BLM L.A. supports Plaintiffs.

        The claims in BLM L.A. turned on a multitude of individual issues, each of which require

individual factfinding, such as whether LAPD officers used excessive force, id. at 1259, sub-

jected protestors to unconstitutional conditions of confinement, id. at 1261, or had probable

cause for an arrest, id. at 1262. Protestors experienced widely varying injuries, some of which

LAPD did not cause: Abigail Rodas’s injuries could have resulted from a trip and fall, for exam-

ple, and Nadia Kahn’s injuries likely came from a different law enforcement agency altogether;

some protestors were not seriously hurt but Tina Crnko incurred permanent nerve damage and

PTSD from a beating. Id. at 1255. Conditions on buses also varied, as did the reasons for arrests.

Id. at 1255-56. The claims stemmed from different protests held at different times and locations,

protestors had widely varying experiences, and “the plaintiffs have not explained what common

evidence can prove the claims of the hundreds, if not thousands, of the members in all the classes
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who had diverging experiences.” Id. at 1264. The BLM L.A. plaintiffs did not even advance a

Monell theory that applied equally to all class members. Id. at 1264-65.

       Plaintiffs’ claims in this case bear little resemblance to those in BLM L.A. Indeed, the

only point of similarity is that both cases involve claims against a municipality for unconstitu-

tional policing practices. However, the claims themselves are entirely different.

       Here, each proposed Class challenges one specific municipal policy or practice that

harmed each putative class member in the same way. The Checkpoint Class challenges the

Checkpoint Policy and the Tinted Windows Class challenges the policy and practice of issuing

multiple tinted windows tickets in a single stop. In stark contrast to BLM L.A., here every class

member incurred essentially the same injury. Every Checkpoint Class member endured substan-

tially the same seizure; every Tinted Windows Class member received more than one tinted win-

dows ticket in a single stop. For each Class, the question whether the City violated class mem-

bers’ constitutional rights will generate the same answer for every member of the class.

       As their evidentiary submission shows, Plaintiffs have amassed a robust evidentiary rec-

ord to prove the relevant policies and practices (ECF 203-210), and each class member will rely

on the same body of evidence to establish the City’s liability to them. In this case, all of the core

liability questions are common, there are no significant individual defenses, and the answers to

common questions will determine the City’s liability to each class member “in one stroke.” BLM

L.A., 113 F.4th at 1258 (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011)); see

ECF 211 at pp. 24-29, 34-44; ECF 223 at pp. 2-9, 13-15.

       In BLM L.A., the Ninth Circuit recognized that class certification would be appropriate

where each class member “was subject to the same alleged policy failure” and “thus experienced

substantially similar constitutional injuries.” 113 F.4th at 1263 (discussing Multi-Ethnic Immi-

grant Workers Organizing Network v. City of Los Angeles, 246 F.R.D. 621 (C.D. Cal. 2007)).


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Because the Checkpoint and Tinted Windows Classes meet this stringent criteria, BLM L.A. sup-

ports Plaintiffs’ Motion for Class Certification.

Dated: October 14, 2024


 _/s/ Claudia Wilner________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 14, 2024, the foregoing document and accompanying

motion papers were filed with the Clerk of the Court and served in accordance with the Federal

Rules of Civil Procedure, and/or the Western District’s Local Rules, and/or the Western District’s

Case Filing Rules & Instructions upon all counsel registered through the ECF System.


                                                             _/s/ Claudia Wilner________




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